                                                                                 CLERKS OFFICE U'
                                                                                                S,DISX O UR-!
                                                                                       ATRDANOKE,VA
                                                                                              FILED

                                                                                         DE: 1i 2218
                         IN TH E U N ITED STATE S D ISTR ICT C O U RT                JUL    .DUD EY LERK
                        FO R TH E W ESTER N D ISTR ICT O F VIR G IN IA              BY:
                                     R O A N O K E D IV ISIO N                               0TY      AK

 M ICH AEL D U CH E LLE G RE EN,                       CA SE N O .7:18CV 00207

                         Plaintiff,
 V.                                                    G MORANDUM OPIN ON

= AM H ERST COUNTY ADULT                               By: G len E.C onrad
 DET.CENTER,c K ,                                      Senior United States D istrictJudge

                         D efendants.

          M ichaelDuchelleGreen,aVirginia inmateproceeding pro K ,filed thiscivilrightsaction
                                                                      .




 pursuantto 42U.S.C.j 1983,allegingthathedidnotreceiveasuftkientlynutritiousdietwhile
 confined atthe AmherstCounty Detention Center(GW CADC ).Afterreview oftherecord,the
            -
             r.X.
 courtconcludesthatthiscivilactionmustbemlmmarily dismissed withoutprejudiceforfailure
 to statea claim .



          The ACADC is a jail facility operated by the Blue Ridge Regional Jail Authority
 (t% RRJA''). Green's j1983 complaintalleges: ç1Iam notbeing feed gsiclthem opercaloric
 intake asto the VA.DOC Standard by the Guidelines. This is a violation ofm y constitutional

 rights asbeing a VA.State Inmate.'' Compl.2,ECF No.1. A sdefendants,Green names the
 ACA D C , theBRRJA,and Timmy Trent.1

          By order entered October 30,2018,the çourtnotifed Green thathiscom plaintdid not

 presentenough factsto state any actionable claim underj1983 againstthedefendantshehas
 nam ed and granted him thirty daysto file an am ended complaintorface sllmm ary dismissalof
      '
          j Afterfiling this action, Green notified the courtthathe had been transferred.to anotherjail
 facility.Thus,anyclaim forinjunctivereliefismoot.SeeRendelmanv.Rouse,569F.3d182,186(4th
 Cir.2009)CG(Ajsageneralrule,aprisoner'stransferorreleasefrom aparticularprison mootshisclaims
 forinjunctive...reliefwithrespecttohisincarcerationthere.'')


Case 7:18-cv-00207-GEC-PMS Document 19 Filed 12/14/18 Page 1 of 4 Pageid#: 80
 the action. Specitk ally,the courtinform ed Green that an nm ended complaintmust state the

 sequence ofeventson wllich he baseshis claims,whatactions each defendanttook in violation

 ofhisconstitutionalrights,whatharm he suffered asa resultoftheirconduct,and whatreliefhe

 seeks. The time granted forthe am ended com plainthas elapsed,and the courthasnotreceived

 any further pleading or correspondence from Green. Accordingly,the courtwill address his

 com plaintand attachm entsasinitially filed.

          Theattachm entsto the complaintprovide som eadditionaldetails. Green complained in a

 g'
  rievancethatthefoodatACADC wasmaldnghim GGverysick''andlefthim htmgry.JZ at4.A
jailofficialissued awritten response,stating EGltlhekitchen goesby amenu thatisapprovedby
 the state dietician''and food service Eçstaff oversee the serving line and ensure thatthe correct

 nmountoffood isplaced on each tray.'' J#z.at5. Thisresponsealso indicated thatantlrsehad
 spoken with Green abouthiscomplaintoffeeling sick. Green appealed the grievance response

totheBRRJA administration,statingitlijtisobviouswhatneedstobedone.W eneedtheProper
                                      J

 Calorie CotmtIn ourm eal. A1lthe Inm ate in K pod w illtestify to this;one Boiled egg,1 ledle

 Esicjofoatmeal,onemuffin isnottheltightCaloriecountforBrealcfast.W earestarving.'' 1d.
 at3.A BRRJA representativeaddressed theappeal:
      .
          Inmatesthroughoutthe (BRRJA)are given mealswith nutritionalvaluegsjthat
          either m eet or exceed the Recomm ended Dietary Allowance regarding caloric
          intake. A1lm enusare approved by a Registered Dietician. W hile itmay notbe
          the quantity you desire, the nmotmt coincides with the Virginia DOC
          Standard....lf you feelatany tim e like you need m edicalattention,submit a
          requestform .

ld
=

                                                II.

          The coul'
                  t is required to dism iss any action or claim filed by a prisoner against a

governm ental entity or ofscer if the courtdeterm ines that the action or claim is frivolous,



Case 7:18-cv-00207-GEC-PMS Document 19 Filed 12/14/18 Page 2 of 4 Pageid#: 81
 malicipus,orfailsto state a claim on which reliefmay be granted. 28U.S.C.j 1915A(b)(1).
 Section 1983 permitsan aggrieved party to file a civilaction againsta person foractionstaken

 tmdercolorofstate 1aw thatviolated hisconstitutionalrights. Cooperv.Sheehan,735 F.3d 153,

 158(4th Cir.2013).A complaintmustbedismissedifitdoesnotallegeçlenough factsto statea
 claim toreliefthatisplausibleonitsface.'' Giarratano v.Johnson,521F.3d 298,302 (4th Cir.
 2008).2 A cou14 mustaccepttheplaintiffsfactualallegationsastnle, butneed nottçacceptthe
 legalconclusions (Irawn f'
                          rom the facts''orGiacceptastrue unwarranted inferences,tmreasonable

 conclusions,orargum ents.''E.ShoreM lcts.sInc.v.J.D.Assocs.Ltd.P'ship,213 F.3d 175,180

 (4th Cir.2000).
            GreenfirstnnmesACADC asadefendant.A jailbuilding,however,cnnnotqualify asa
person subjecttobeingsuedlmderj1983. Mccoyv.ChesapeakeCorr.Ctr.,788F.Supp.890,
 893-94(E.D.Va.1992).Therefore,thecourtmustdismissGreen'sclaimsagainstACADC.
            Green also nam estheBRRJA asa defendant. To provethata governm entalentity,such

asaregionaljailauthority,isliableunderj1983 forconstitutionalviolationscommittedby its
employees, the plaintiff must show that the entity's policy was Glthe m oving force of the

constimtionalviolation.''Polk County v.Dodson,454 U.S.312,326 (1981). itocalgoverning
bodies...canbesueddirectlyunder51983formonetary,declaratory,orinjtmctivereliefwhere
 . . .   the action thatis alleged to be tmconstitutionalim plem entsor executes a policy statem ent,

ordinance,regulation,or decision oftk ially adopted and promulgated by thatbody'sofficers.''

M ohellv.Dep'tofSoc.Serv.,436U.S.658,690(1978).Green statesnofactsinthecomplaint
linking the allegedly inadequate am ountoffood he received atACADC to a specific policy or

decisionofscially adoptedbythegoverningbody ofthejailauthority.On thecontrary,Green's
        2Thecourthasom itted internalquotation m arks, alterations,and citationshereand throughout
thisopinion,unlessotherwisenoted.



Case 7:18-cv-00207-GEC-PMS Document 19 Filed 12/14/18 Page 3 of 4 Pageid#: 82
 attachm entsindicatethatperpolicy,the BRRJA provides itsinm ateswith a dietapproved by a

 registered dieticimlasnutritionally appropriateand consistentwith VDOC standards. The court

 willsumm arily dismissGreen'scomplaintagainsttheBRRJA.

       Green's third nam ed defendant is Timmy Trent. He does not state who Trent is or

 describe any action Trenttook,personally,thatviolated Green's rights orhnrmed him in any

 way. Thus,Green's subm issions do not state any actionable claim againstTrent. See,e.R.,

 Vinnedaev.Gibbs,550 F.2d 926,928 (4th Cir.1977)(finding thatunderj1983,çfliabilitywill
only lie where it is affirmatively shown that the official charged acted personally in the

deprivation of the plaintiffl's)rights'). Accordingly,the complaintagainst Trent mustbe
dism issed.

       In any event,Green'scomplaintdoesnotstate suftkientfactsforan actionable j1983
claim against anyone. His stated belief thatthe ACADA meals failed to provide him with

adequate nutrition and caused him to become sick isunsupported by factualm atter. The court

neednotaccepthismerely conclusory opinion asatnzefact.E.Shore M kts.,213 F.3d at180.
                                                                ---




       Forthese remsons,the courtconcludesthatGreen's subm issions do notstate any claim

upon which relief could be granted and must be summarily dism issed the action without

prejudice under j1915A(b)(1). An appropriate orderwillenterthis day. Such a dismissal
leaves Green f'
              ree to refile his claim sin a new and separate civilaction ifhe can state factsto

supportan actionable claim againsta properdefendant. The Clerk isdirected to send copiesof

thism'emorandtlm opinion and accompanying ordertoplaintiff
       ENTER:Tllis 1,42 day ofDecember, 2018.



                                                  SeniorUnited StatesDistrictJudge




Case 7:18-cv-00207-GEC-PMS Document 19 Filed 12/14/18 Page 4 of 4 Pageid#: 83
